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 6                      IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                  No. 25-MJ-1880-LCK
10                       Plaintiff,             ORDER
11   v.
12   Jose Hermosillo,
13                       Defendant.
14
15        Upon oral motion by the Government, and without objection, IT IS ORDERED the
16   Complaint be DISMISSED WITHOUT PREJUDICE against this defendant, JOSE
17   HERMOSILLO.
18        Dated this 17th day of April, 2025.
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